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                                                                                                                                           2018 Nov-08 PM 02:22
                                                                                                                                           U.S. DISTRICT COURT
                                                                                                                                               N.D. OF ALABAMA



AO 242 (12111) Petition for a Writ ofHabeas Corpus Under28 U.S.C. § 2241                                                                      ·,



                                       UNITED STATES DISTRICT COURT
                                                                           for the
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                                                                                                                      ; ...   ,,.,         -c      /. tl-
                                                                                                                      ' ,,
                                                                                                                    l .,.·,
                                                                               )
                                                                               )
                                                                               )
                              Petitioner                                       )
                                                                               )
                                  v.                                           )        1:18-cv-01850-RDP-JHE
                                                                               )
                                                                               )
                                                                               )
 ~se&er"'-1. \)"'-{-<"-'-\ .:-\ ~(\,,.:,3                                      )
                           Respondent
(na,ne of warden or authorized person having custody ofpetitioner)


                         PETITION FOR A WRIT OF ~EAS CORPUS UNDER 28 U.S.C. § 2241
                                                              Personal Information

I.       (a) Your full name:
         (b) Other names you have used:
2.       Place of confinement:
         (a) Name of institution:                 · ,c.,_/{   "1.J-('7'1              F"-cJ.,:;r..._ l
         (b) Address:                      'i) :"\.. ~       I CJ oo
                                             "T,,il"'J.."'!c.       Al                    :>,s-l<,i
         (c) Your identification number:
3.       Are you currently being held on orders by:
         13'federal authorities               O State authorities                  O Other - explain:


4.       Are you currently:
         O A pretrial detainee ( waiting for trial on criminal charges)
         Q'S"°erving a sentence (incarceration, parole, probation, etc.) after having been convicted ofa crime
            If you are currently serving a sentence, provide:



                                                                           \
                    (b) Docketnumberofcrim.inalcase:                                   ;l,.·.,::.2 - cr--1\. - '\='._\n              ;i_':l, ">\'<
                    (c) Date of sentencing:          -~2-·__q_-_\_O______________________
         OBeing held on an immigration charge
         O Other (explain):




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                                                   Decision or Action You Are Challenging

5.        What are you challenging in this petition:
          OHow your sentence is being earned out, calculated, or credited by prison or parole authorities (for example,
            revocation or calculation of good time credits)
          O Pretrial detention
          O Immigration detention
          ODetainer
          OThe validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
            maximum or improperly calculated under the sentencing guidelines)
         ~isciplinary proceedings
         O Other (explain):



6.        Provide more information about the decision or action you are challenging:
          (a) N arne and location of the agency or court:                    f <:'. J.-e. r   "-<.\       ~ u r e.g.,..

          (b) Docket number, case number, or opinion number:                                   0\     ~   () 'J 7) - fl.J.   1
                                                                                                                                 9lo~,s- ,q}
          (c) Decision or action you are challenging (for disciplinary proceedings, specify the percalties imposed):

                       J)fy., (             C odl <c.           \\    3          (   C\. ""'~h< :\- ,,. ""- "',:.. \


          (d) Date of the decision or action:               ~-       ll · I 2

                                            Your Earlier Challenges of the Decision or Action

7.        First appeal
          Did you appeal the decision, file a grievance, or seek an administrative remedy?
         r;iyes                            ONo
          (a) If"Yes," provide:
                    (1) Name of the authorii, agency, or com!:                   .-.-F~e~&=~~(~·c..~\__D_._u_r_e._c..._-_.....__o~[~·--~~·~'~·~~~"--""
                        '¥.eu 1.-,""''
                                \
                                                  o~.\,L.:.             ,'.> .. ~~\.      eA<:>:\
                     (2) Date of filing:            \   2 - ),<,       - \ :J
                     (3) Docket number, case number, or opinion number:
                     (4) Result:
                     (5) Date ofresult:
                     (6) Issues raised:
                     :::c (.\-., ,..\ \ e. "''\_' 'c..
                                       \                                     \



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          (b) !fyou answered "No," explain why you did not appeal:




8.        Second appeal
          After the first appeal, did you file a second appeal to a higher authority, agency, or court?
         ITTes                            ONo
          (a) If"Yes," provide:
                    (1) Name of the authority, agency, or court:

                       Ce"'_\ Cu,,\.                   c:,:\\: c(
                    (2) Date of filing:                ~-          Jo - 11
                                                                     '--! - 11 - i 'l    I
                    (3)   Docket number, case number, or opinjon number:       q~cll\-1\;).
                    (4) Result:
                    (5) Date ofresult:                 '-/ -       ;l ::!, ·· I ii             5 - l ~- - i '2
                    (6) Issues raised:             X                   'i:C.u '-'-<"'~ ,.S,.       C:..     \.:.,.'-:,

                    :r..        c: ""-.. c.,. \\ ~     Y>   'l .....   s. ' -\\, \..) <;.\); .'>- '.\-....
                                      \                                              '



          (b) !fyou answered "No," explain why you did not file a second appeal:




9.        Third appeal
          After the second appeal,         d}P you file a third appeal to a higher authority, agency, or court?
          OYes                            t!f'No
          (a) If"Yes," provide:
                    (!) Name of the authority, agency, or court:


                    (2) Date of filing:
                    (3) Docket number, case number, or opinion number:
                    (4) Result:
                     (5) Date of result:
                                                                                                      I
                                                                                                          I\J 7
                                                                                                             I
                     (6) Issues raised:




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          (b) If you answered "No," explain why you did not file a third appeal:

                 -th, rJ                 c.~\?<...... l
10.       Motion under 28 U.S.C. § 2255
          In this petition, are you challenging the validity of your conviction or sentence as imposed?
          OYes                          ONo
          If"Yes," answer the following:
          (a)       Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
                    OYes                               ONo
                    If"Yes," provide:
                    (!) Name ofcourt:          ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~




                    (2) Case number:
                    (3) Date of filing:
                    (4) Result:
                    (5) Date of result:
                    (6) Issues raised:
                                                                             A   i 2'
                                                                                  1




          (b)       Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
                     seeking permission to file a second or successive Section 2255 motion to challenge this conviction or
                     sentence?
                    OYes                               ONo
                     If"Yes," provide:
                     (!)   Name of court:
                     (2) Case number:
                     (3) Date of filing:
                     (4) Result:
                     (5) Date of result:
                     (6) Issues raised:




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          (c)       Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your
                     conviction or sentence:




11.       Appeals of immigration proceedings
          Does this case concern immigration proceedings?·
          OYes                          O'No
                    If "Yes," provide:
          (a)       Date you were taken into immigration custody:
          (b)       Date of the removal or reinstatement order:
          (c)       Did you file an appeal with the Board of Immigration Appeals?
                    OYes                               O No
                    If"Yes," provide:
                    (1) Date of filing:
                     (2) Case number:
                     (3) Result:
                     (4) Date of result:
                     (5) Issues raised:
                                                                              . II
                                                                             l'\J
                                                                             , I
                                                                              ~
                                                                                    I   ts

          (d)        Did you appeal the decision to the United States Court of Appeals?
                    OYes                               ONo
                     If "Yes," provide:
                     (I) Name of court:
                     (2) Date of filing:       ---------(\--;f--.f--.(\lr---------------
                     (3) Case number:                                             / V   f

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                     (4) Result:
                     (5) Date ofresult:
                     (6) Issues raised:


                                                                      A II
                                                                      /VI


12.       Other appeals
          Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
          raised in this petition?
         OYes
          If"Yes," provide:
          (a) Kind of petition, motion, or application:
          (b) Name of the authority, agency, or court:


          ( c) Date of filing:
          (d) Docket number, case number, or opinion number:
          (e) Result:
          (f) Date of result:
          (g) Issues raised:




                                               Grounds for Your Challenge in This Petition

13.       State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
          laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
          facts supporting each ground.




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          (a) Supporting facts (Be brief Do not cite cases or law.):




          (b) Did you present Ground One in all appeals that were available to you?
         OYes                           ONo


       GROUND TWO:




          (a) Supporting facts (Be brief Do not cite cases or law.):




          (b) Did you present Ground Two in all appeals that were available to you?
         OYes                           ONo


      GROUND THREE:




          (a) Supporting facts (Be brief Do not cite cases or law):




          (b) Did you present Ground Tlu·ee in all appeals that were available to you?
          OYes                          ONo


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        GROUND FOUR:




          (a) Supporting facts (Be brief Do not cite cases.or law.):




          (b) Did you present Ground Four in all appeals that were available to you?
          OYes                          ONo


14.       If there are any grounds that you did not present in all appeals that were available to you, explain why you did
          not:




                                                                 Request for Relief

15. State exactly what you want the court to do:                            ".:) (A,M.(_




                                                                                                                     Page9ofl0
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                                                     Declaration Under Penalty Of Perjury

          If you are incarcerated, on what date did you place this petition in the prison m.ail system:                     /   l- £ -      f 25


I declare under penalty of perjury that I am the petitioner, I have read this petition or had it read to me, and the
information in this petition is true and correct. I understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.




Date:       /l-&-12>




                                                                              Signature of Attorney or other authorized person.   if any




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